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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      M iam iD ivision

                                                     M D L N o.2599
                                                     M asterFileNo.15-2599-M D-M ORENO
                                                     14-24009-CV-M OREN O
  IN RE:

  TAIG TA AIR BAG PRODU CTS
  LIABILITY LITIGATION


  THIS DOCUM EN T RELATES TO ALL
  ECONOM IC LOSS TRACK CASES
                             /

    ORDER DENYING IN PART M OTIONS TO DISM ISS BY DEFENDANTS TAIG TA
              CORPOM TION.TK HOLDINGS INC.AND HO NDA

           This multidistrict litigation (:(M DL'') consolidates allegations of economic loss and
  personal injury related to airbags manufactured by defendants Takata Corporation and TK
  Holdings(collectively,és-fakata''land equipped in vehiclesmanufactured by defendantsHonda,
  BM W , Ford, M azda, M itsubishi, Nissan, Subaru, and Toyota (collectively, Stvehicle
   M anufacturerDefendants'). ThiscausecomesbeforetheCourton DefendantTakata'sM otion
   to Dism iss Second Am ended Consolidated Class Action Complaintor in the Alternative,to

   Strike the Allegationsof Counts 3-8 and 104 (D.E.6221and DefendantHonda'sM otion to
   Dismiss(D.E.6161. ThisOrderpertainsonly to Plaintiffs'federalclaimsand motion to strike
   the allegations ofa nationalclass action. Forreasonsdiscussed below,the Courtdenies in part

   Takata'sand Honda'smotionsto dismiss,asPlaintiffshave establishedprimafacieclaimsfor
   violations of the Racketeer lnfluenced and Corrupt Organizations Act (ç$RlCO'') and the
   M anguson-M ossW arranty Act.The Courtalso deniesaspremature Takata'sm otion to strike.
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                                          Background

         Plaintiffsin thiscase are consumersofvehiclesequipped with Takata airbagscontaining

  ammonitlm nitrate asa propellant. The Courthasdivided the M DL'Scomponentcasesinto two

  tracks:an econom ic loss track for plaintiffs alleging purely economic damages and a personal

  injurytrack forplaintiffsallegingdamagesto aperson.Thisorderpertainsto the economicloss
  track cases. In their Second Amended Consolidated Class Action Complaint (içcomplainf')
  (D.E.5794Plaintiffsallege,in 104 counts,thatTakata and Honda violatedprovisionsofRICO,
  and that Takata and the Vehicle M anufacturer Defendants violated the M anguson-M oss

  W arranty Act and various state laws regarding warranty, consumer protection, tmjust
  enrichm ent, and negligence. Takata and the Vehicle M anufacturer Defendants each filed

  separate m otionsto dism iss. Plaintiffsfiled an Omnibusresponse to a11the m otionsto dismiss

  and defendantsfiled separate replies. On October23,2015,the Courtheard oralargtlm entson

  the motions to dism iss. This Orderis the firstin a series oforders on the m otionsto dismiss

   heard atoralargument.

                                       Standard ofR eview

         çtA pleading thatstates a claim forreliefmustcontain ...a shortand plain statem entof

   the claim showing thatthe pleaderis entitled to relief.'' Fed.R.CiV.P.8(a)(2). To survive a
   motion to dism iss,at'complaintm ustcontain sufficientfactualm atter,accepted astrue,to çstate

   a claim toreliefthatisplausibleon itsface.'''Ashcrojtv.Iqbal,556 U.S.662 (2009)(quoting
   BellAtl.Corp.v.Twombly,550 U.S.544 (2007:.Detailedfactualallegationsarenotrequired,
   buta pleading m ustofferm ore than tdlabels and conclusions''or t6a form ulaic recitation ofthe

   elementsofthecauseofaction.'' Twombly,550 U .S.at555.


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                     Racketeerlnfluenced and CorruptO rganizationsAct


                            A. Countl- Violationofl8 US.C.f l962(c)

         To establish afederalRICO violationunder18U.S.C.j1962(c),aplaintiffttmustsatisfy
  fourelementsofproof:(1)conduct(2)ofan enterprist(3)through apattern (4)ofracketeering
  activity.'' Williams v.M ohawk Indus.,Inc.,465 F.3d 1277,1282 (11th Cir.2006)(quotation
  marksomitted). An ûsenterprise''includestsany individual,partnership,corporation,association,
  orotherlegalentity,and any union orgroup ofindividualsassociated in factalthough notalegal

  entity.'' 18 U.S.C.j 196144).Racketeering activity is any act indictable under any of the
  statutory provisionslisted in 18 U.S.C.j 1961(1).A çlpattel'n ofracketeering activity''requires
  thecommissionofatleasttwosuchactswithin aten-yearperiod.18U.S.C.j 1961(5)4Ralputv.
  City Trading,LLC,476 F.App'x 177,180 (11th Cir.2012). Plaintiffsallege thatTakata,the
  Vehicle M anufacttlrer Defendants, and dealerships that sell vehicles manufactured by the

  Vehicle M anufacturer Defendants constitute an association-in-fact that engaged in

   collaborative schem e to defraud consumers, which was distinct from the conduct of any

   individualdefendant. To supportthese allegations,the Complaintincludesfactualallegationsof

   racketeering activity in violation of18 U.S.C.jj 1341and 1343,including pagesofreferences
   to specitk com municationsamong defendants,thatthedefendants,acting as an enterprise,knew

   of a defect in the Takata airbag,knew that Takata had concealed the defect,and defrauded

   consum ers by selling and servicing vehicles for m ore m oney than consum ers w ould have paid

   had the vehicle not contained a defective airbag. Plaintiffs have alleged sufficient facts in

   supportoftheelementsof18U.S.C.j1962(c)tosurviveamotiontodismiss.
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         In civilRICO cases,to satisfytherequirementsofl8 U.S.C.j 1964(c),aplaintiffmust
  alsoshow (1)Sitherequisiteinjurytobusinessorproperty,''and (2)proximatecausesuchthatthe
  ltinjury was by reason ofthe substantive RICO violation.'' Williams,465 F.3d at 1282-83
  (quotation marks omitted). To state a plausible claim forreliefunderthis statute,a plaintiff
  calmotrely solely on abstractallegationsofmarkettheory;rather,aplaintiffm ustallegeconcrete

  factsin supportofa finding ofinjury and causation. Simpson v.Sanderson Farms,Inc.,744
  F.3d 702,709 (11th Cir.2014). DefendantTakatacontendsthatPlaintiffshavefailed toallege
  concrete facts of cognizable tinancial loss or proxim ate causation. In regards to financial loss,

  Takata arguesthatPlaintiffsdo notallege any specific loss,and furthennore,any lossrelated to

  the inflator defectcan be alleviated if a consum er avails himselfofa free replacementairbag

   offered aspartofTakata and the Vehicle M anufacturer Defendants recallarrangem ent. Asto

   proximate causation,Takata alleges that there is no direct causal chain between the alleged

   conspiracy to concealthe inflatordefectto the alleged loss suffered by consum ers.' Plaintiffs

   allege thatasa resultofthe conspiracy,class members were injtlred in theirproperty in the
   following ways:they overpaid for vehicles based on m isinfonnation regarding vehicle safety;

   they ovem aid for airbags within the vehicles;and the vehicles they purchased diminished in

   value afterthe public leam ed aboutthe airbag defect. Each individualplaintiffhasalso alleged

   thathewould nothavepurchased a classvehiclehad he known abouttheairbag defect. Finally,

   severalplaintiffsallege thatthey suffered damagesstem ming from m issed work,transportation,

   and child care. Upon a close review ofthe record and the law,the Courtfinds thatPlaintiffs

   have alleged enough to state a plausible claim forrelief. Plaintiffs willhave the opportunity to

   develop the factsalleged through the discovery process. Forthe reasonsstated above,Takata's

   M otionsto Dismissisdenied asto Count1ofthe Com plaint.

   lSee D .E.829-1forTakata'sexhibitin supportofitspositionon proximatecausation,submittedatoralargument.
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                            #. Count2- Violationof18 U S.C.j 1962(d)

         Plaintiffsbring a separateclaim againstTakata and Hondaunder 18 U.S.C.j 1962(d),
  alleging thatdefendantsagreed to conspireto violate j 1962(c),thestatuteatissue in Countl.
  To establish aRICO conspiracy underj 1962(d),ûiaplaintiffmustshow eitheragreementwith
  theobjectiveoftheconspiracy oragreementto committwo racketeeringpredicates.'' Rajputv.
  City Trading,LLC,476F.App'x 177,180(11th Cir.2012)(quotationmarksomitted).Plaintiffs
  allegethat,overthecourse ofadecade,Takataand HondaStshared information aboutinjtlrious
  airbag deployments- jointly and secretly- investigated the possible causes of those
  deployments,delayed and/orprevented the release ofinculpatory inform ationsmisled regulatory

  authorities,and m aintained aconsistentpublic posture asto the scope ofvehiclesaffected by the

  Defective Airbags and the safety risks those airbags posed.'' In the Complaint, Plaintiffs

  juxtapose communications between Honda and Takata with a timeline of Takata's alleged
   conspiratorialconductto implicate thatHonda acted in agreementwith the objectivesofthe
   alleged conspiracy. In itsm otion to dismiss,Honda arguesthatthisevidence isnotsufficientto

   meetthe pleading standard. However,asthisCourtnoted in In reM anaged CareLitig.,l50 F.

   Supp.2d 1330, 1350 (S.D.Fla.2001),a case Honda relies on throughout its motion,$ûa
   conspiracy çmaybeproved by eitherdirectorcircumstantialevidence;a comm on schem eorplan

   m ay be inferred from the conductofthe alleged participants orfrom othercircum stances.'''Id

   (citing US.v.M ajors,196 F.3d 1206,1210-11(11th Cir.1999)).ThiscourtfindsthatPlaintiffs
   have alleged sufficient evidence- both direct and circum stantial- to survive a m otion to

   dismiss. Forthisreason,Takata'sand Honda'sm otionsto dism issare denied as to Count2 of

   the Com plaint.
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                               AllegationsofNationalClassAction

          DefendantTakata also m oves to strike the allegations of a nationalclass action ptzrsuant

  toFederalRuleofCivilProcedure23(c)(1)(A). TheComplaintincludesnationwideclassaction
  claimsforunjustenrichment,fraudulentconcealment,negligence,violationsofstate consumer
  protection and implied warranty laws,and breach ofimplied warranty undertheM agnuson-M oss

  Act. This Orderaddresses only the motion to strike and notthe motions to dism iss the same

  nationwide class action claim s. Defendants argue that,based on a choice-of-law analysis,this

  courtcannotassess the nationw ide claim s under the law of one state;rather the law s of m ore

  than30 stateswillapplytotheseclaims(aswellastotheM anguson-M ossclaim,theanalysisof
  which relieson state law). Thus,Defendantscontend thatthere isno efticiency incentive or
  precedentforthe Courtto address more than 30 state laws under each consolidated claim . ln

   response, Plaintiffs contend that the m otion to strike is untim ely, unnecessary, and fails to

   acknowledge the m any com m on issues offactand law. This Courtisnotcom pelled to address

   them otion to strikeatthistime and findsthatto do so would be prem ature. Therefore,Takata's

   m otion to striketheallegationsofanationalclassisdenied.

                                  M anguson-M oss W arranty A ct


          TheM anguson-M ossW arranty Actprovidesa federalcause ofaction forany ûlconsumer

   who isdnmaged by the failtlre ofa supplier,warrantor,orservice contractorto com ply with any

   obligation tmderthischapter,orundera written warranty,im plied warranty,orservice contract.''

   15U.S.C.j2310(d)(1). lnCount3,PlaintiffsallegethatTakata and theVehicleM anufadtlrer
   Defendantsbreached the implied warranty ofm erchantability by selling a consumervehicle that

   was not fit for the ordinary purpose of a safe passenger vehicle, nor properly designed,
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  manufactured,marketed,contained,packaged orlabeled. Takatam ovesforthe Courtto dismiss

  Plaintiffs'M agnuson-M oss W arranty Actcause ofaction fortw o reasons. First,Takata m oves

  for dismissal on the same basis that it moves to strike the nationalclass action claim s:Stthe

  warranty laws of over 30 jurisdictions are implicated by the proposed class,and therefore
  common issuesof law do notpredom inate and the claim isnotm anageable as a classaction.''

  Plaintiffs similarly argue that dism issal for this reason is premature. Furtherm ore,Plaintiffs

  contend thateven ifthe Court's choice-of-law analysisrequires itto apply the lawsofthe state

  jurisdictionsto claimsunderM anguson-M oss,the Courtcan addressthese issuesby grouping
  similar state laws together and addressing claims under those laws in subclasses. The Court

  agreesthattheM anguson-M ossclaim should notbe dismissed based on prem aturechoice-of-law

  issues. Second,Takatam ovesfortheCourtto dism issPlaintiffs'M agnuson-M ossclaim forlack

   ofcontractualprivity between Takata and Plaintiffs.Takata arguesthatthe question ofwhether

  privity is required hinges on state law. ln response,Plaintiffs cite to case 1aw which suggests
   that privity is not required for claims of breach of implied warranty under the state laws of

   M ichigan,Texas,and Califom ia. Because plaintiffs have alleged facts suffcient to show a

   violation of the M anguson-M oss Act,atleastas itapplies underthe laws ofthree stateswith

   significanttiesto plaintiffsin thiscase,theCourtfindsthatdism issalisnotwarranted. Forthese

   reasons,Takata'smotion to dismissisdenied asto Count3.
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                                          C onclusion

          Based on the foregoing,itishereby

          ORDERED AND ADJUDGED thatDefendantTakata'sm otion to dism issisDENIED

  IN PART (asto Counts 1-3 and themotion to strike allegationsofanationalclassaction)and
  DefendantHonda'smotiontodismissisDENIED IN PART (astoCount2).
          DONE AND ORDERED inChambers M iam i,Florida,this S dayofDecember,
                                                ,


  2015.


                                                        FED    CO A.M     NO
                                                        IJM TED ST   S DISTRICT JUDGE

  Copiesfurnished to:
  Counselofrecord
